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UN|TED STATES DISTRlCT COURT UQ ,
WESTERN D|STR|CT OF TENNESSEE m‘ED BY ~-~»--- D-C-

MEMPH|S D|ViSlON
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miss llt GOULD
-v- 2:01cR20231-01-Ml CL%%§ TSH§WT

THERESA C. BARKSDALE
Robert Parris CJA
Defense Attorney
8 South Third Street, 4th Floor
Memphis, TN 38103-2381

 

 

*A-M-E-N-D-E-D JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on October 2, 2003. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit¢e & section MMLW Offense Number(s1
Conc|uded
21 U.S.C. § 841 (a)(1) Possession with intent to Distribute 08/29/2001 1
Approximate|y 655 Pounds of
Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

 

Defendant’s Soc. Sec. No. XXX-XX-XXXX Ori inai Date of im osition of Sentence:
Defendant’s Date of Birth: 06/04/ 1970 December15, 2003
Deft’s U.S. |V|arsha| No.: 17961-076 *Amended: August 17, 2005

Defendant’s Mailing Address:
5140 Shannon Road

Tucson, AZ 85705 §

JON PH|PPS MCCALLA
U iTE STATES D|STR|CT JUDGE

August l g , 2005
Thls document entered on the docket sheet in compliance
with Hu|e 55 and/or 32('0) FRCrF’ on g" iq ’Oé ’

 

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *41 Months for 3 Years and 5 Months).

The Court recommends to the Bureau of Prisons:

*1 . Stronglg recommends the defendant be returned to continue incarceration at FPC-
Phoenix AZ.

 

2. The defendant should complete 500 hours of a drug treatment program.

The defendant is remanded to the custody of the United States Marshai.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES N|ARSHAL
By:

 

Deputy U.S. Marsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a tirearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation ocher as directed bythe court or probation ofncer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation omcer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shaii not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances. except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controiled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permits probation ofncer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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law enforcement officer;
11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation ocher to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgmentl

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment as directed by the Probation
Ofiice.
2. The defendant shall submit to mental health counseling and mental health treatment as

directed by the Probation Office.
*3 The defendant shall cooperate with DNA collection as directed bv the Probation Office.

CR|M|NAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution
$100.00

The Specia| Assessment shall be due immediate|y.
FlNE
No fine imposed.

RESTITUT|ON
No Restitution was ordered.

   

UNITED `sETATs DISTRICT COURT - WETERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 125 in
case 2:0]-CR-20231 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

Stuart J. Canale

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Ste. 800

Memphis7 TN 38103

Robert L. Parris

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Honorable J on McCalla
US DISTRICT COURT

